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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LOIS CHISHOLM                                          :             CIVIL ACTION
                                                       :
                                                       :
              v.                                       :
                                                       :
NCO FINANCIAL SYSTEMS, INC.                            :             No. 11-1792

                                              ORDER

       AND NOW, this        19th     day of        JULY , 2011, IT IS ORDERED that

the Rule 16 Conference scheduled for August 18, 2011 is canceled and rescheduled for

Wednesday, August 31, 2011 at 10:00 a.m.. The conference will be held in chambers,

Room 7613 on the 7th Floor of the U.S. Courthouse, 601 Market St., Philadelphia, PA.




ATTEST
BY:                                           or               BY THE COURT


       s/Marie O’Donnell
_____________________________                              _____________________________
Civil Deputy/Secretary                                          Anita B. Brody,   J.




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